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~    I                          UNITED STATES DISTRICT COURT
     2
                              SOUTHERN DISTRICT OF CALIFORNIA
     3
     4
         UNITED STATES OF AMERICA,                      Case No.:   23-mj-08287-LR
     5
                                     Plaintiff,         COMPLAINT FOR VIOLATION OF
     6
                V.
     7                                                  Title 21 U.S.C.§ 84l(a)(l)
         Jose De Jesus Arturo LEAL-Torres,              Possession of a Controlled Substance
     8
                                                        with Intent to Distribute
     9                             Defendant.
    10
    11         The undersigned complainant duly sworn states:

    12                                            COUNT 1

    13         On or about April 29, 2023, within the Southern District of California, defendant,
    14
       Jose De Jesus Arturo LEAL-Torres, did knowingly and intentionally possess with intent to
    15
    16 distribute a mixture and substance containing a detectable amount of methamphetamine, a

    17 Schedule II Controlled Substance in violation of Title 21, United States Code, Section
    18
         84l(a)(l).                                                        Digitally signed by JAMES
    19                                                JAMES      NEWM}NEWMAN
                                                                           Date : 2023.04.29 22:02:53 -07'
    20
                                                      Special Agent James P. Newman
    21                                                Drug Enforcement Administration
    22

    23
               Sworn and attested to under oath by telephone, in accordance with Federal Rule
    24
         of Criminal Procedure 4.1, this 1st day of May, 2023.
    25
    26
    27                                              HON. LUPE RODRIGUEZ, JR.
    28                                              UNITED STATES MAGISTRATE WDGE
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 l UNITED STATES OF AMERICA
                V.
 2 Jose De Jesus Arturo LEAL-Torres
 3
                              PROBABLE CAUSE STATEMENT
 4
           I declare under penalty and perjury that the following statement is true and correct:
 5

 6         This Probable Cause Statement is based on the reports, documents, and notes
 7
     furnished to Drug Enforcement Administration Special Agent (SA) James P. Newman.
 8
           On April 29, 2023, Border Patrol Agents (BPA), Angel Toral and Kevin Hynes,
 9

10 along with a Human Narcotics Detection Dog (HNDD), were assigned at the fully
11
     functional United States Border Patrol (USBP) Checkpoint on Highway 86 near
12
     Westmorland, California. The BPA Hynes and his HNDD are certified in the detection of
13
14 marijuana, cocaine, methamphetamine, heroin and their derivatives, as well as the detection
15
     of concealed humans. At approximately 12:25 p.m., a 2010 Black Freightliner Semi-Truck
16
     bearing California License Plate 9F74832 approached the primary inspection area. During
17
18 questioning at primary, BPA Hynes and his HNDD conducted a canine sniff around the
19
     exterior of the vehicle and the HNDD alerted. Subsequently, BPA Toral asked the driver,
20
21 identified as Jose De Jesus Arturo LEAL-Torres, for consent to search his vehicle. LEAL-
22 Torres gave consent and BPA Toral referred LEAL-Torres and the vehicle to the secondary
23
     inspection area. In the secondary inspection area, BPA Hynes conducted an exterior search
24
25 of the vehicle and observed that the passenger side fuel tank and noticed that the fuel line
26 on the tank was cut. BP A Hynes opened the gas cap and noticed the fuel in the gas tank
27
     was cloudy and that there was a crystal-like substance around the filler tube. Based on BPA
28

                                                  2
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 1 Hynes' training and experience when methamphetamine is mixed in fuel it appears cloudy.
 2 BP A Hynes then went over to the driver side gas tank and opened the gas cap. BPA Hynes
 3
     observed that the fuel inside was clear. BPA Hynes then retrieved a Narcotics Analysis
 4
 5 Reagent Kit (NARKII) and extracted a small sample of the fuel with a fiberscope. BPA
 6 Hynes placed several drops of the liquid into the test kit and broke the ampoule from left
 7
     to right, while agitating for approximately 5 seconds each. As BPA Hynes broke the third
 8
 9 ampoule the liquid turned a dark purple color indicating a positive test for
10 methamphetamine. BPA Hynes then advised BPA Recinos that the truck was positive, and
11
     BPA Recinos placed LEAL-Torres into custody and escorted him into the checkpoint.
12
13         A total of 283 .906 kilograms of solution was extracted from the passenger side gas

14 tank, which field tested positive for methamphetamine. Subsequently, LEAL-Torres was
15
   placed under arrest.
16
17 Executed on April 29, 2023 at 6:00 p.m.
                                                                   Digitally signed by JAMES
                                                 JAMES    NEWM,LNEWMAN
18                                                                 Date : 2023.04.29 22:07 :18 -071


19                                               Special Agent James P. Newman
                                                 Drug Enforcement Administration
20
21         On the basis of the facts presented in this probable cause statement consisting
22 of three pages, I find probable cause to believe that the defendant named in this
23 probable cause statement committed the offense on April 29, 2023, in violation of Title
24 21, United States Code, Section 841(a)(l).

25
26
27                                                             6:44 AM, Apr 30, 2023
   HON. Barbara MaJor                                         Date/Time
28 UNITED STATES MAGISTRATE JUDGE

                                                3
